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 In re         Robert S. Shumake                                                                             Case No.     13-40001
                                                                                                 ,
                                                                                   Debtor

                                            SCHEDULE A - REAL PROPERTY - AMENDED
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                 Husband,    Current Value of
                                                                         Nature of Debtor's       Wife,     Debtor's Interest in            Amount of
               Description and Location of Property                      Interest in Property     Joint, or  Property, without             Secured Claim
                                                                                                Community Deducting  any Secured
                                                                                                            Claim or Exemption

09759 Bonnie Brook, Charlevoix, Charlevoix                               equity of redemption        -                   Unknown                           0.00
County, Michigan. Property value estimated to be
$250,000. Debtor's interest has no present market
value, but he claims an exemption in it because he
may choose to retain it. Litigation regarding the
foreclosure is pending in the Michigan Court of
Appeals.




                                                                                                 Sub-Total >                  0.00         (Total of this page)

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  0    continuation sheets attached to the Schedule of Real Property
                                                                                                 (Report also on Summary of Schedules)
                 13-40001-mlo                 Doc 13          Filed 02/19/13        Entered 02/19/13 13:39:42             Page 1 of 17
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 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                       SCHEDULE B - PERSONAL PROPERTY - AMENDED
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

1.    Cash on hand                                        cash                                                              -                            50.00

2.    Checking, savings or other financial                First National Bank (Botswana)                                    -                              8.00
      accounts, certificates of deposit, or
      shares in banks, savings and loan,                  Banco Popular Dominicano, S.A. (Dominican                         -                            84.00
      thrift, building and loan, and                      Republic)
      homestead associations, or credit
      unions, brokerage houses, or
      cooperatives.

3.    Security deposits with public                   X
      utilities, telephone companies,
      landlords, and others.

4.    Household goods and furnishings,                    household goods, furniture. At 546 Graten St.,                    -                      10,000.00
      including audio, video, and                         Birmingham MI 48009, and Charlevoix house.
      computer equipment.

5.    Books, pictures and other art                       Miscellaneous items included in item 4. No                        -                              0.00
      objects, antiques, stamp, coin,                     valuable art objects or collectibles.
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                    Clothing, apparel, accessories, watches                           -                        1,500.00

7.    Furs and jewelry.                               X

8.    Firearms and sports, photographic,                  Miscellaneous sporting goods included in item 4.                  -                              0.00
      and other hobby equipment.

9.    Interests in insurance policies.                X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                  X
    issuer.




                                                                                                                            Sub-Total >          11,642.00
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  3    continuation sheets attached to the Schedule of Personal Property
                 13-40001-mlo                 Doc 13          Filed 02/19/13         Entered 02/19/13 13:39:42                  Page 2 of 17
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                  X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                   ICG Real Estate Advisors, LLC, a Michigan limited                 -                           100.00
    and unincorporated businesses.                        liabilty company. 85% membership interest, no
    Itemize.                                              market value. Value is stated because debtor
                                                          claims it as wholly exempt. This LLC owns
                                                          interests in subsidiaries. The debtor formerly listed
                                                          as assets interests in those subsidiaries, but he
                                                          now understands his ownership interest in those
                                                          subsidiaries to be indirect.

                                                          Robert Shumake LLC, a Michigan limited liabilty                   -                              0.00
                                                          company.

                                                          Meek Communications LLC                                           -                              0.00

                                                          Meek Lakewood, LLC                                                -                              0.00

                                                          Southfield Properties Group, LLC, 5% membership                   -                              1.00
                                                          interest

14. Interests in partnerships or joint                X
    ventures. Itemize.

15. Government and corporate bonds                    X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                              X

17. Alimony, maintenance, support, and                X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.




                                                                                                                            Sub-Total >              101.00
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Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

19. Equitable or future interests, life               X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                      X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                     Claims asserted in Macomb County Circuit Court                    -                      Unknown
    claims of every nature, including                     lawsuit against Ronald Zajac, John Clark, Estate of
    tax refunds, counterclaims of the                     Steven Pankake, and Michael Pankake.
    debtor, and rights to setoff claims.
    Give estimated value of each.                         Claims asserted against Deutsche Bank National                    -                              0.00
                                                          Trust Company in Charleviox County litigation
                                                          (currently before the Michigan Court of Appeals).
                                                          See schedule A.

22. Patents, copyrights, and other                    X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                   X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations              X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                    2007 Mercedes-Benz S550. 150,000 miles.                           -                      15,000.00
    other vehicles and accessories.

26. Boats, motors, and accessories.                   X

27. Aircraft and accessories.                         X

28. Office equipment, furnishings, and                X
    supplies.

29. Machinery, fixtures, equipment, and               X
    supplies used in business.



                                                                                                                            Sub-Total >          15,000.00
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Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
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B6B (Official Form 6B) (12/07) - Cont.




 In re         Robert S. Shumake                                                                                 Case No.       13-40001
                                                                                                     ,
                                                                                    Debtor

                                         SCHEDULE B - PERSONAL PROPERTY - AMENDED
                                                                           (Continuation Sheet)

                                                      N                                                                 Husband,        Current Value of
               Type of Property                       O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                      N                                                                  Joint, or   without Deducting any
                                                      E                                                                Community Secured Claim or Exemption

30. Inventory.                                        X

31. Animals.                                          X

32. Crops - growing or harvested. Give                X
    particulars.

33. Farming equipment and                             X
    implements.

34. Farm supplies, chemicals, and feed.               X

35. Other personal property of any kind               X
    not already listed. Itemize.




                                                                                                                            Sub-Total >                  0.00
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                                                                                                                                 Total >         26,743.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                        (Report also on Summary of Schedules)
                 13-40001-mlo                 Doc 13          Filed 02/19/13         Entered 02/19/13 13:39:42                   Page 5 of 17
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 B6C (Official Form 6C) (4/10)


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  In re         Robert S. Shumake                                                                                      Case No.           13-40001
                                                                                                           ,
                                                                                        Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
 Debtor claims the exemptions to which debtor is entitled under:                                  Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                  $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                       with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                         Value of                 Current Value of
                  Description of Property                                          Each Exemption                             Claimed                  Property Without
                                                                                                                             Exemption               Deducting Exemption
Real Property
09759 Bonnie Brook, Charlevoix, Charlevoix                                11 U.S.C. § 522(d)(1)                                    10,800.00                        Unknown
County, Michigan. Property value estimated to
be $250,000. Debtor's interest has no present
market value, but he claims an exemption in it
because he may choose to retain it. Litigation
regarding the foreclosure is pending in the
Michigan Court of Appeals.

Cash on Hand
cash                                                                      11 U.S.C. § 522(d)(5)                                          50.00                            50.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
First National Bank (Botswana)                    11 U.S.C. § 522(d)(5)                                                                    8.00                             8.00

Banco Popular Dominicano, S.A. (Dominican                                 11 U.S.C. § 522(d)(5)                                          84.00                            84.00
Republic)

Household Goods and Furnishings
household goods, furniture. At 546 Graten St.,                            11 U.S.C. § 522(d)(3)                                    10,000.00                        10,000.00
Birmingham MI 48009, and Charlevoix house.

Wearing Apparel
Clothing, apparel, accessories, watches                                   11 U.S.C. § 522(d)(3)                                      1,500.00                         1,500.00
                                                                          11 U.S.C. § 522(d)(4) jewelry                              1,450.00
                                                                          exemption claimed with respect to
                                                                          watches

Stock and Interests in Businesses
ICG Real Estate Advisors, LLC, a Michigan                                 11 U.S.C. § 522(d)(5)                                        100.00                           100.00
limited liabilty company. 85% membership
interest, no market value. Value is stated
because debtor claims it as wholly exempt.
This LLC owns interests in subsidiaries. The
debtor formerly listed as assets interests in
those subsidiaries, but he now understands his
ownership interest in those subsidiaries to be
indirect.

Robert Shumake LLC, a Michigan limited liabilty                           11 U.S.C. § 522(d)(5)                                        100.00                               0.00
company.

Southfield Properties Group, LLC, 5%                                      11 U.S.C. § 522(d)(5)                                        100.00                               1.00
membership interest

Other Contingent and Unliquidated Claims of Every Nature
Claims asserted in Macomb County Circuit          11 U.S.C. § 522(d)(5)                                                                100.00                       Unknown
Court lawsuit against Ronald Zajac, John Clark,
Estate of Steven Pankake, and Michael
Pankake.



    1     continuation sheets attached to Schedule
                 13-40001-mlo             Doc 13of Property
                                                     Filed Claimed as Exempt
                                                            02/19/13      Entered                    02/19/13 13:39:42                     Page 6 of 17
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 B6C (Official Form 6C) (4/10) -- Cont.




  In re         Robert S. Shumake                                                                           Case No.      13-40001
                                                                                                        ,
                                                                                         Debtor

                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT - AMENDED
                                                                                (Continuation Sheet)

                                                                                Specify Law Providing           Value of            Current Value of
                  Description of Property                                          Each Exemption               Claimed             Property Without
                                                                                                               Exemption          Deducting Exemption

Automobiles, Trucks, Trailers, and Other Vehicles
2007 Mercedes-Benz S550. 150,000 miles.                                   11 U.S.C. § 522(d)(2)                        3,450.00              15,000.00




                                                                                            Total:                 27,742.00                 26,743.00
 Sheet     1        1 continuation sheets attached to the Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re         Robert S. Shumake                                                                                         Case No.       13-40001
                                                                                                             ,
                                                                                             Debtor

                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS - AMENDED

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                        C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                            O                                                             O    N   I
                                                        D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
          AND MAILING ADDRESS                           E                                                             T    I   P       WITHOUT               UNSECURED
           INCLUDING ZIP CODE,                          B   W            NATURE OF LIEN, AND                          I    Q   U                             PORTION, IF
                                                        T   J          DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                      DEDUCTING
          AND ACCOUNT NUMBER                            O                                                             G    I   E       VALUE OF                 ANY
            (See instructions above.)
                                                            C                OF PROPERTY
                                                        R
                                                                           SUBJECT TO LIEN
                                                                                                                      E    D   D     COLLATERAL
                                                                                                                      N    A
                                                                                                                      T    T
Account No.                                                   Mortgagee holds sheriff's deed.                              E
                                                              09759 Bonnie Brook, Charlevoix,                              D

Countrywide                                                   Charlevoix County, Michigan. Property
                                                              value estimated to be $250,000.
P.O. Box 650070                                               Debtor's interest has no present market
Dallas, TX 75265-0070                                         value, but he claims an exemption in it
                                                            - because he may choose to retain it.
                                                              Litigation regardin
                                                                Value $                               Unknown                                    0.00              Unknown
Account No. xxxx xxxx xx19 02                                   security interest noted on title 3.18.2009

JPMorgan Chase Bank NA (auto)                                   2007 Mercedes-Benz S550. 150,000
PO Box 901098                                                   miles.
Fort Worth, TX 76101
                                                            -

                                                                Value $                               15,000.00                           22,000.00                  7,000.00
Account No.




                                                                Value $
Account No.




                                                                Value $
                                                                                                                   Subtotal
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_____ continuation sheets attached                                                                                                        22,000.00                  7,000.00
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                                                                                           (Report on Summary of Schedules)
                  13-40001-mlo                 Doc 13           Filed 02/19/13                   Entered 02/19/13 13:39:42               Page 8 of 17
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  In re         Robert S. Shumake                                                                                        Case No.         13-40001
                                                                                                               ,
                                                                                             Debtor


                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


      Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                     C    Husband, Wife, Joint, or Community                                C   U   D
                  CREDITOR'S NAME,                                   O                                                                      O   N   I
                  MAILING ADDRESS                                    D    H                                                                 N   L   S
                INCLUDING ZIP CODE,                                  E                DATE CLAIM WAS INCURRED AND                           T   I   P
                                                                          W
               AND ACCOUNT NUMBER
                                                                     B              CONSIDERATION FOR CLAIM. IF CLAIM                       I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                     T    J                                                                 N   U   T
                                                                     O                IS SUBJECT TO SETOFF, SO STATE.                       G   I   E
                 (See instructions above.)                           R
                                                                          C
                                                                                                                                            E   D   D
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Account No. x-x1005                                                           credit card                                                   T   T
                                                                                                                                                E
                                                                                                                                                D

American Express
Box 0001                                                             X -
Los Angeles, CA 90096-8000

                                                                                                                                                                     70,000.00
Account No.                                                                   loan for business purposes

Angelo D'Alessandro
3800 Woodward Avenue, Ste. 410                                            -
Detroit, MI 48201

                                                                                                                                                                   150,000.00
Account No. x1606                                                             dining

Capitol Hill Club
300 First Street, S.E.                                                    -
Washington, DC 20003

                                                                                                                                                                         958.11
Account No. xxxxxxxxxxxx5573                                                  cable

Charter Communications
1265 John Q. Hammons, Ste. 100                                            -
Madison, WI 53717-1936

                                                                                                                                                                         316.44

                                                                                                                                        Subtotal
 5
_____ continuation sheets attached                                                                                                                                 221,274.55
                                                                                                                              (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   mortgage loan, formerly secured by Charlevoix           E
                                                                              real property. Amount listed is estimated               D

CitiMortgage Inc.                                                             deficiency balance.
Bankruptcy Department                                                     -
Attn: MC0023
5280 Corporate Drive
Frederick, MD 21703-8351                                                                                                                              530,000.00
Account No.                                                                   property tax

City of Charlevoix
201 State Street                                                          -
Charlevoix, MI 49720

                                                                                                                                                            295.59
Account No. xxxx xxxx xxxx 5570                                               cable

Comcast
Charter                                                                   -
P.O. Box 901076
Fort Worth, TX 76101-2076
                                                                                                                                                            325.00
Account No. xxxx xxxxx 5185                                                   Utilities

Consumers Energy
Lansing, MI 48937-0001                                                    -



                                                                                                                                                          1,789.00
Account No. tbd                                                               Utilities

Consumers Energy
Lansing, MI 48937-0001                                                    -



                                                                                                                                                            689.00

           1
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      533,098.59
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No.                                                                   deficiency balance, Charlevoix mortgage                 E
                                                                                                                                      D

Deutsche Bank National Trust
Company                                                                   -
300 South Grand Avenue
Los Angeles, CA 90071
                                                                                                                                                      500,000.00
Account No. xxxx xxx x002 2                                                   Utilities

DTE Energy
One Energy Plaza                                                          -
Detroit, MI 48226-1221

                                                                                                                                                            226.00
Account No. xxxx xxx x003 0                                                   Utilities

DTE Energy
One Energy Plaza                                                          -
Detroit, MI 48226-1221

                                                                                                                                                            159.95
Account No.                                                                   judgment, Oakland County Circuit Court.

Fifth Third Bank
P.O. Box 630337                                                           -
Cincinnati, OH 45263-0001

                                                                                                                                                      750,000.00
Account No.                                                                   claim asserted in Wayne County lawsuit.

General Retirement System / Detroit
c/o Peter A Jackson, Esq.                                                 -                                                               X
Clark Hill PLC
500 Woodward, 35th Floor
Detroit, MI 48226                                                                                                                                               0.00

           2
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                    1,250,385.95
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxxxxxx2-001                                                                                                             E
                                                                                                                                      D

Great Lakes Energy
2183 N. Water Road                                                        -
Hart, MI 49420-9007

                                                                                                                                                            276.47
Account No. x1132                                                             company debt, listed for notice purposes.

Heenan, Blaikie Management Ltd.
1250 boul Rene-Levesque O                                            X -                                                                  X
Montreal Quebec, Canada H3B4Y1

                                                                                                                                                        31,103.69
Account No.                                                                   litigation - attorneys fees

Joelson, Rosenberg, Moss, Cohen,
Warren & Drasnin, P.L.C.                                             X -
30665 Northwestern Hwy., Ste. 200
Farmington Hills, MI 48334-3144
                                                                                                                                                        30,000.00
Account No.                                                                   attorney fees

Law Office of Douglas D. Hampton,
P.C.                                                                 X -
2000 Town Center, Ste. 1900
Southfield, MI 48075
                                                                                                                                                        70,000.00
Account No. xxxx2607                                                          life insurance (policy lapsed).

MassMutual Financial Group
P.O. Box 75045                                                            -
Charlotte, NC 28275-0045

                                                                                                                                                          1,415.42

           3
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                      132,795.58
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                  Case No.     13-40001
                                                                                                               ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                      C   U   D
                  CREDITOR'S NAME,                                   O                                                            O   N   I
                  MAILING ADDRESS                                    D    H                                                       N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                     B                                                            I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                 (See instructions above.)                           R                                                            E   D   D
                                                                                                                                  N   A
                                                                                                                                  T   T
Account No. xxxx xxxx xxxx 9226                                               credit card                                             E
                                                                                                                                      D

Michigan First Credit Union
Customer Service                                                          -
P.O. Box 31112
Tampa, FL 33631-3112
                                                                                                                                                        10,672.97
Account No.                                                                   Eaton Street

P & B Investments
111 Cadillac Square, Suite 300                                            -
Detroit, MI 48226

                                                                                                                                                          2,500.00
Account No.

Police and Fire Retirement / Detroit
c/o Peter A. Jackson, Esq.                                                -
Clark Hill PLC
500 Woodward, 35th Floor
Detroit, MI 48226                                                                                                                                               0.00
Account No.                                                                   personal guaranty of real-estate loan

Prime Financial, Inc.
31800 Northwestern Highway, Suite                                    X -
207
Farmington, MI 48334
                                                                                                                                                    1,000,000.00
Account No.                                                                   Loan for business purposes.

Sal Calvalere
3800 Woodward Avenue, Ste. 410                                       X -
Detroit, MI 48201

                                                                                                                                                      200,000.00

           4
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                         Subtotal
                                                                                                                                                    1,213,172.97
Creditors Holding Unsecured Nonpriority Claims                                                                        (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




  In re         Robert S. Shumake                                                                                        Case No.      13-40001
                                                                                                                ,
                                                                                             Debtor

                                         AMENDED
               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                 (Continuation Sheet)


                                                                     C    Husband, Wife, Joint, or Community                             C   U   D
                  CREDITOR'S NAME,                                   O                                                                   O   N   I
                  MAILING ADDRESS                                    D    H                                                              N   L   S
                INCLUDING ZIP CODE,
                                                                     E
                                                                          W
                                                                                      DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                     B                                                                   I   Q   U
               AND ACCOUNT NUMBER                                    T    J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                     O    C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                 (See instructions above.)                           R                                                                   E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. xxxxxx6504                                                                                                                       E
                                                                                                                                             D

State Farm Insurance
42690 Woodward Avenue, Suite 175                                          -
Bloomfield Hills, MI 48304-5066

                                                                                                                                                                 1,202.00
Account No. xxxxxxxxx-x0001                                                   cell phone

VerizonWireless
P.O. Box 4002                                                        X -
Acworth, GA 30101

                                                                                                                                                                 3,415.41
Account No.

Vernor Norwood
18693 Mark Twain                                                          -
Detroit, MI 48221

                                                                                                                                                               50,000.00
Account No. xxx-xxxxxx3-002                                                   Sharp copier lease

Wells Fargo
Leasing Customer Service                                             X -
MAC F4031-050
800 Walnut Street
Des Moines, IA 50309-3605                                                                                                                                      11,978.00
Account No. xxx03-00                                                          water bills

WRC
One Public Works Drive                                               X -
Bldg. 95 West
Waterford, MI 48328-1907
                                                                                                                                                                 3,200.00

           5
Sheet no. _____     5
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                               69,795.41
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)
                                                                                                                                         Total
                                                                                                               (Report on Summary of Schedules)            3,420,523.05

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Revised 11/11
                                                    UNITED STATES BANKRUPTCY COURT
                                                         Eastern District of Michigan

                                                        COVER SHEET FOR AMENDMENTS

CASE NAME:                        Robert S. Shumake

CASE NUMBER:                      13-40001

The enclosed documents amend the petition, schedule, statement of financial affairs, statement of income and expenses,
matrix or summary of assets and liabilities.

           The purpose of this amendment is to:

                                  Add creditors to schedule(s)        . How many?
                                  (Use second page of this form to list creditors added).

                                              $30.00 Amendment Fee. This fee is required whenever you add creditors to a case,
                                              delete creditors, change the amount of a debt or change the classification of a debt. The
                                              fee is not required when correcting addresses of previously listed creditors. It is not
                                              required when new schedules are filed in a converted case.

                                  Correct the addresses of creditors already listed on the schedules and matrix previously filed.
                                  (Use second page of this form).

                                  Other: (Provide detail of Amendment) Amend schedules A, B, C, D and F to clarify descriptions of
                                  property, exemptions and debts.

                                  Amend Schedules and list of creditors. Schedules must be verified by the debtor(s).

                                  Amend Matrix. Please do not send a matrix adding creditors to a case unless you also send the
                                  amended schedules. Do not send a new matrix to correct an address. Use the second page of this
                                  form. Pursuant to L.B.R. 1007-2 & 1009-1 an amendment to a matrix filed by a debtor without an
                                  attorney must have a complete paper copy attached to this form. Electronic filers must upload
                                  creditors to the ECF system.

NOTE:                  LBR 1009-1(b) requires the debtor to serve a copy of the amendment and the cover sheet for amendments
                       on the trustee and all other entities affected by the amendment.




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                                       CORRECTIONS AND ADDITIONS TO MAILING MATRIX
Use this section of the form to make corrections to the names and address of any creditors or parties in interest who are
listed on the current matrix of the case.
NAME OF CREDITOR (As it now appears):                                  -NONE-
                                                                                               (Please print)
Previous address:                                                                Please change to:




Use this section of the form to IDENTIFY creditors added to the schedules and matrix.
NAME OF CREDITOR (As it now appears):
                                                                                                (Please print)
Address



NAME OF CREDITOR (As it now appears):
                                                                                                (Please print)
Address


                               FOR ADDITIONAL CHANGES COPY THIS SHEET AND CONTINUE
                                                                          Signature:   /s/ Thomas R. Morris
                                                                                       Thomas R. Morris P39141
                                                                                       Name of Attorney
                                                                                       30500 Northwestern Highway
                                                                                       Suite 200
                                                                                       Farmington Hills, MI 48334
                                                                                       (248) 539-1330
                                                                                       morris@silvermanmorris.com




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I/We do hereby affirm under penalty of perjury that I/we have read the foregoing form, Cover Sheet for Amendments, and
all pleadings and attachments thereto, and do hereby affirm that the information contained herein is true and accurate to
the best of my knowledge, information and belief.

                                                                          Signature:   /s/ Robert S. Shumake
                                                                                       Robert S. Shumake
                                                                                       Name of Debtor

                                                                          Signature:

                                                                                       Name of Joint Debtor, if applicable




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